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                              7
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                              8

                              9
                                                    UNITED STATES DISTRICT COURT
                                                              FOR THE
                          10                      NORTHERN DISTRICT OF CALIFORNIA
                          11
                                   JEANINE CAMPBELL                        Case No.: _______________________
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                          12
                                               Plaintiff,                    COMPLAINT FOR DAMAGES
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                          13                                                  DEMAND FOR JURY TRIAL
                                                       v.
                          14
                                   UNITED COLLECTION
                          15       BUREAU, INC.;
                          16
                                               Defendant
                          17
                                  ///
                          18

                          19      ///

                          20      ///
                          21
                                  ///
                          22

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                                                                         INTRODUCTION
                              1

                              2   1.   This is a case about a debt collector who, in its initial written collection
                              3
                                       communication to a consumer, used language and phrases which overshadowed
                              4
                                       the consumer’s right to dispute the debt or request the name and address of the
                              5

                              6        original creditor within the permitted 30-day period to dispute or request such
                              7
                                       information.
                              8
                                  2.   JEANINE CAMPBELL (“Plaintiff”), by Plaintiff’s attorney, brings this action
                              9

                          10           for statutory damages, and attorneys’ fees and costs, against UNITED
                          11
                                       COLLECTION BUREAU, INC. for violations of the Fair Debt Collection
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                          13
                                       Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter “FDCPA”), and the Rosenthal
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                          14           Fair Debt Collection Practices Act, California Civil Code § 1788 et seq.
                          15
                                       (hereinafter “RFDCPA”), both of which prohibit debt collectors from engaging
                          16

                          17           in abusive, deceptive and unfair practices.

                          18      3.   Plaintiff makes these allegations on information and belief, with the exception
                          19
                                       of those allegations that pertain to the Plaintiff, or to the Plaintiff’s counsel,
                          20

                          21           which Plaintiff alleges on personal knowledge.

                          22      4.   While many violations are described below with specificity, this Complaint
                          23
                                       alleges violations of the statutes cited in their entirety.
                          24

                          25      5.   All violations by Defendant were knowing, willful, and intentional, and

                          26           Defendant did not maintain procedures reasonably adapted to avoid any such
                          27
                                       violations.
                          28


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                                  6.    Unless otherwise indicated, the use of a Defendant’s name in this Complaint
                              1

                              2         includes all agents, principles, managing agents, employees, officers, members,
                              3
                                        directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
                              4
                                        representatives, and insurers of that Defendant named.
                              5

                              6                                 JURISDICTION AND VENUE
                              7
                                  7.    Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states
                              8
                                        that such actions may be brought and heard before “any appropriate United States
                              9

                          10            district court without regard to the amount in controversy,” 28 U.S.C. § 1331,
                          11
                                        which grants this court original jurisdiction of all civil actions arising under the
                          12
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                          13
                                        laws of the United States, and pursuant to 28 U.S.C. § 1367 for pendent state law
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                          14            claims.
                          15
                                  8.    This action arises out of Defendant’s violations Fair Debt Collection Practices
                          16

                          17            Act, 15 U.S.C. § 1692 et seq. (hereinafter “FDCPA”), and the Rosenthal Fair Debt

                          18            Collection Practices Act, California Civil Code § 1788 et seq. (hereinafter
                          19
                                        “RFDCPA”).
                          20

                          21      9.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 because the acts and

                          22            transactions occurred here, Plaintiff resides here, and Defendant transacts
                          23
                                        business here.
                          24

                          25                                      FDCPA AND RFDCPA

                          26      10. In enacting the FDCPA, Congress found that:
                          27
                                       a.    There is abundant evidence of the use of abusive, deceptive, and unfair debt
                          28                 collection practices by many debt collectors. Abusive debt collection

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                                           practices contribute to the number of personal bankruptcies, to marital
                              1
                                           instability, to the loss of jobs, and to invasions of individual privacy.
                              2
                                     b.    Existing laws and procedures for redressing these injuries are inadequate to
                              3            protect consumers.
                              4
                                     c.    Means other than misrepresentation or other abusive debt collection
                              5            practices are available for the effective collection of debts.
                              6      d.    Abusive debt collection practices are carried on to a substantial extent in
                              7            interstate commerce and through means and instrumentalities of such
                                           commerce. Even where abusive debt collection practices are purely
                              8            intrastate in character, they nevertheless directly affect interstate
                              9            commerce.
                          10         e.    It is the purpose of this title to eliminate abusive debt collection practice by
                                           debt collectors, to insure that those debt collectors who refrain from using
                          11
                                           abusive debt collection practices are not competitively disadvantaged, and
                          12               to promote consistent State action to protect Consumers against debt
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                          13
                                           collection abuses. 15 U.S.C. § 1692.
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                          14      11. Similarly, when enacting the RFDCPA, the California Legislature found that:
                          15               The banking and credit system and grantors of credit to consumers
                          16
                                           are dependent upon the collection of just and owing debts. Unfair or
                                           deceptive collection practices undermine the public confidence
                          17               which is essential to the continued functioning of the banking and
                          18
                                           credit system and sound extensions of credit to consumers. Cal.
                                           Civil Code § 1788.1(a)(1).
                          19
                                  12. The FDCPA and the RFDCPA are both strict liability statutes. That is, a
                          20

                          21          plaintiff need not prove intent or knowledge on the part of the debt collector to
                          22
                                      establish liability. See Gonzales v. Arrow Fin. Servs., LLC, 660 F.3d 1055,
                          23
                                      1060-61 (9th Cir. 2011); Donohue v. Quick Collect, 592 F.3d 1027, 1030 (“[t]he
                          24

                          25          FDCPA is a strict liability statute that makes debt collectors liable for violations
                          26
                                      that are not knowing or intentional”).
                          27

                          28


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                                  13. To further protect consumers, claims under the FDCPA and RFDCPA are to be
                              1

                              2       judged according to the “least sophisticated debtor” or “least sophisticated
                              3
                                      consumer” standard. Gonzales at 1061. This standard is lower than the
                              4
                                      “reasonable debtor” standard, and is specifically designed to protect consumers
                              5

                              6       of below average and sophistication or intelligence. Id. In addition, a plaintiff
                              7
                                      need not even have actually been misled or deceived by the debt collector’s
                              8
                                      communication. Rather, liability depends on whether the hypothetical least
                              9

                          10          sophisticated debtor – someone who is uninformed and naïve – would have
                          11
                                      likely been misled. Id.; see also Tourgeman v. Collins Financial Servs., 755
                          12
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                          13
                                      F.3d 1109, 1119 (9th Cir. 2014).
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                          14                                INTRADISTRICT ASSIGNMENT
                          15
                                  14. Intradistrict assignment to the SAN FRANCISCO/OAKLAND DIVISION is
                          16

                          17          proper because this case’s category is not excepted by Civil L.R. 3-2(c) and a

                          18          substantial part of the events or omissions which give rise to the claim occurred
                          19
                                      in the county of MARIN.
                          20

                          21                                             PARTIES

                          22      15. Plaintiff is a natural person who resides in the County of Marin, State of
                          23
                                      California. Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
                          24

                          25          1692a(3) and “Debtor” as that term is defined by California Civil Code §

                          26          1788.2(h).
                          27
                                  16. Defendant United Collection Bureau, Inc. (hereinafter “Defendant UCB”) is a
                          28


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                                       Ohio corporation operating from an address of 5620 Southwyck Blvd, Toledo,
                              1

                              2        OH 43614, and is a “Debt Collector” as that term is defined by 15 U.S.C. §
                              3
                                       1692a(6) and Cal. Civ. Code § 1788.2(c) because it regularly uses the mails and/or
                              4
                                       the telephone to collect, or attempt to collect, directly or indirectly, defaulted
                              5

                              6        consumer debts that it did not originate. It operates a nationwide debt collection
                              7
                                       business and attempts to collect debts from consumers in virtually every state,
                              8
                                       including consumers in the State of California. Its principal, if not sole, business
                              9

                          10           purpose is the collection of defaulted consumer debts originated by others, and,
                          11
                                       in fact was acting as a debt collector as to the delinquent consumer debt it
                          12
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                          13
                                       attempted to collect from Plaintiff.
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                          14      17. This case involves money due or owing or alleged to be due or owing from a
                          15
                                       natural person by reason of a consumer credit transaction. As such, this action
                          16

                          17           arises out of a “consumer debt” and “consumer credit” as those terms are

                          18           defined by Cal. Civ. Code § 1788.2(f).
                          19
                                                                 FACTUAL ALLEGATIONS
                          20

                          21      18. Plaintiff is an individual residing in the County of Marin in the State of

                          22           California.
                          23
                                  19. Plaintiff is informed and believes, and thereon alleges, that at all times relevant,
                          24

                          25           Defendant conducted and continues to conduct business in the State of

                          26           California.
                          27
                                  20. Defendant’s business consists solely of the collection of delinquent consumer
                          28


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                                       debts.
                              1

                              2   21. The debt Defendant is attempting to collect originated from a Home Depot credit
                              3
                                       card, was for personal, family, or household purposes, and the original creditor
                              4
                                       was Citibank, N.A.
                              5

                              6   22. On or around July 16, 2019, Plaintiff received a letter from Defendant stating that
                              7
                                       the communication was regarding the Home Depot account ending in -9255.
                              8
                                  23. The July 16, 2019, letter includes the notice required under 15 U.S.C. §1692g(a),
                              9

                          10           at the bottom of the first page of the letter.
                          11
                                  24. The July 16, 2019, letter also states, “Unless you dispute the validity of this debt
                          12
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                          13
                                       or any portion thereof, please make your payment to Citibank at the remit address
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                          14           below, or call our office for arrangements.”
                          15
                                                       CAUSES OF ACTION CLAIMED BY PLAINTIFF
                          16

                          17                                               COUNT I

                          18                             VIOLATION OF § 1692G OF THE FDCPA
                          19
                                  25. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                          20

                          21           as though fully stated herein.

                          22      26. A debt collector violates § 1692g(b) of the FDCPA when it, during the 30 day
                          23
                                       period after sending the initial written communication containing the requisite
                          24

                          25           notice under 1692(a), undertakes collection activities and/or communications

                          26           with Plaintiff which overshadow or are inconsistent with the disclosure of the
                          27
                                       consumer’s right to dispute the debt or request the name and address of the
                          28


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                                      original creditor.
                              1

                              2   27. Defendant violated § 1692g(b) when it, among other qualifying actions and
                              3
                                      omissions, willfully and without justification, sent a letter to Plaintiff regarding a
                              4
                                      consumer debt with the requisite notice under 1692g(a), also stating “Unless you
                              5

                              6       dispute the validity of this debt or any portion thereof, please make your payment
                              7
                                      to Citibank at the remit address below, or call our office for arrangements.” This
                              8
                                      additional statement overshadows and is inconsistent with Plaintiff’s right to
                              9

                          10          request the name and address of the original creditor, and thus violates 1692g(b).
                          11
                                                                        COUNT II
                          12
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                          13
                                                      VIOLATION OF § 1788.17 OF THE RFDCPA
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                          14      28. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                          15
                                      as though fully stated herein.
                          16

                          17      29. A defendant violates § 1788.17 of the RFDCPA when it fails to comply with

                          18          the provisions of 15 U.S.C. § 1692b to 1692j, inclusive.
                          19
                                  30. Defendants violated § 1788.17 of the RFDCPA when they willfully engaged in
                          20

                          21          conduct, the natural consequence of which the violation of 15 U.S.C. § 1692g.

                          22                                      PRAYER FOR RELIEF
                          23
                                  WHEREFORE, Plaintiff prays that judgment be entered against Defendant for:
                          24

                          25               a) Award of statutory damages in the amount of $1000.00 pursuant to 15

                          26                   U.S.C. § 1692k(a)(1) (FDCPA) against Defendant and for Plaintiff, and,
                          27

                          28


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                                           b) Award of statutory damages in the amount of $1000.00 pursuant to Cal.
                              1

                              2               Civ. Code § 1788.30 (RFDCPA) against Defendant and for Plaintiff, and,
                              3
                                           c) Award of costs of litigation and reasonable attorney’s fees pursuant to 15
                              4
                                              U.S.C. § 1692k(a)(1) (FDCPA) and pursuant to Cal. Civ. Code § 1788.30
                              5

                              6               (RFDCPA), against Defendant and for Plaintiff, and,
                              7
                                           d) Award to Plaintiff of such other and further relief as may be just and
                              8
                                              proper.
                              9

                          10                              CERTIFICATION OF INTERESTED PARTIES
                          11
                                        Pursuant to Civil L.R. 3-15, the undersigned certifies that as of this date, other
                          12
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                          13
                                        than the named parties, there is no such interest to report.
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                          14
                                                                                        BY: /S/ LAUREN B. VEGGIAN
                          15                                                                LAUREN B. VEGGIAN, ESQ.
                          16

                          17
                                                            TRIAL BY JURY IS DEMANDED.
                          18

                          19
                                  31. Pursuant to the seventh amendment to the Constitution of the United States of
                          20

                          21          America, Plaintiff is entitled to, and demands, a trial by jury.
                          22

                          23
                                                                          THE CARDOZA LAW CORPORATION
                          24
                                  DATED: August 12, 2019                  BY: /S/ LAUREN B. VEGGIAN
                          25
                                                                          MICHAEL F. CARDOZA, ESQ.
                          26                                              LAUREN B. VEGGIAN, ESQ.
                                                                          ATTORNEYS FOR PLAINTIFF,
                          27
                                                                          JEANINE CAMPBELL
                          28


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